      Case 2:19-cv-00111-MHT-SRW Document 73 Filed 10/19/20 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JAMES McCONICO, JR.,       )
                           )
     Petitioner,           )
                           )                    CIVIL ACTION NO.
     v.                    )                      2:19cv111-MHT
                           )                           (WO)
ALABAMA BOARD OF PARDONS & )
PAROLE, et al.,            )
                           )
     Respondents.          )

                           OPINION AND ORDER

       This case is before the court on the United States

Magistrate Judge’s recommendation that the court deny

petitioner’s        motion    for    relief     from   judgment      under

Federal Rule of Civil Procedure 60(b).                     Petitioner’s

motion challenges this court’s July 2019 dismissal of

his petition for writ of habeas corpus under 28 U.S.C.

§ 2254.      There are no objections to the recommendation.

After an independent and de novo review of the record,

the     court     concludes      that     the    magistrate       judge’s

recommendation should be adopted.

       Accordingly, it is ORDERED as follows:
   Case 2:19-cv-00111-MHT-SRW Document 73 Filed 10/19/20 Page 2 of 2




    (1) The magistrate judge's recommendation (doc. no.

72) is adopted.

    (2) Petitioner’s motion for relief from judgment

under Federal Rule of Civil Procedure 60(b) (doc. no.

66) is denied.

    This case remains closed.

    DONE, this the 19th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
